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Android 1.6 Platform Highlights

The Android 1.6 platform introduces new
features for users and developers. This page
provides an overview of some new features and
technologies.

* New User Features

» Android Market Updates
* New Platform Technologies

New User Features

Quick Search Box for Android RIG s22em
Android 1.6 includes a redesigned search framework that provides a [7 eeeeeeeee tn
quick, effective, and consistent way for users to search across multiple Fa.

sources—such as browser bookmarks & history, contacts, and the
web—directly from the home screen.

. Soy Messaging
The system constantly learns which search results are more relevant 5) on

based on what is clicked. So popular contacts or apps that have 1y michael jackson - Google Search
previously been picked will bubble up to the top when a user types the ve
first few letters of a relevant query. gy Oe

% 3 moon calerxiar - Google Search
The search framework also provides developers a way to easily A oo

expose relevant content from their applications in Quick Search Box. Gy xs.

Quick Search Box
Camera, Camcorder, and Gallery

An updated user interface provides an integrated camera,
camcorder, and gallery experience. Users can quickly
toggle between still and video capture modes.
Additionally, the gallery enables users to select multiple
photos for deletion.

Android 1.6 also provides a much faster camera
experience. Compared to the previous release, launching
the camera is now 39% faster, and there is a 28%
improvement in the time from completing one shot to the
next. New Camera/Camcorder UI

VPN, 802.1x

A new Virtual Private Network (VPN) control panel in Settings allows users to configure and connect to the following types
of VPNs:

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L2TP/IPSEC pre-shared key based VPN
* L2TP/IPsec certificate based VPN EIR Eee neta
* L2TP only VPN eae

+ PPTP only VPN

Battery usage indicator

A new battery usage screen lets users see which apps and services
are consuming battery power. If the user determines that a particular
service or application is using too much power, they can take action to
save the battery by adjusting settings, stopping the application, or
uninstalling the application.

wi ape Battery Usage Indicator
Accessibility

Users will be able to download new accessibility services built on the new accessibility framework and enable them in
Settings.

Android Market Updates

For devices with Android Market, the latest version improves the
overall user experience and makes it easier for users to discover great
apps and games from developers.

+ At the homescreen, users can choose among Apps, Games, and
Downloads.

Browse Casual

+ Inside a category, users can explore titles that are Top paid, Top
free, and Just in. Movies by Flixster sane

+ For each title, users can now see screenshots submitted by idesilgun:Ch a
* ioe . ue, er 1: Fo:
developers in addition to reviews from other users. sae pr coooe

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New Android Market UI

New Platform Technologies

Expanded Search Framework

The Android search framework has been redesigned and expanded to provide third-party applications the opportunity to
surface content from their applications in Quick Search Box, the global search tool. To do this, developers will need to
make their app “searchable” and provide suggestions in response to user queries. To enable application search
suggestions, users simply select each application from which they'd like to receive suggestions, under Searchable items
in the Search settings.

Text-to-speech engine

Android 1.6 features a multi-lingual speech synthesis engine called Pico. It allows any Android application to "speak" a
string of text with an accent that matches the language. The engine supports the following languages: English (American
and British accents), French, Italian, German and Spanish. If you're using a T-Mobile G1 or Dream device, you'll need to

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download the SpeechSynthesis Data Installer from Android Market, which includes the "voices" needed by the text-to-
speech engine.

Gestures

A new gestures framework provides application developers with a framework for creating, storing, loading, and
recognizing gestures and associating them with specific actions.

Developers can use the new GestureBuilder tool included in the Android 1.6 SDK to generate libraries of gestures to
include with their application.

Accessibility

Android 1.6 provides a new accessibility framework. With this framework, developers can create accessibility plugins that
respond to user input, such as making a sound when a new window is shown, vibrating when navigating to the top of a
list, and providing spoken feedback.

Expanded support for screen densities and resolutions

Android 1.6 adds screen support that enables applications to be rendered properly on different display resolutions and
densities. Developers can also specify the types of screens supported by their application.

Telephony support for CDMA
Android 1.6 includes support for CDMA in the telephony stack.

New version of OpenCore
Android 1.6 includes the updated OpenCore 2 media engine, which has:
+ Support for OpenMAX encoders

* Support for additional audio codecs in AuthorEngine

* Improved buffering model supports shared buffers allocated in the decoder

2.6.29 Linux kernel

Android 1.6 upgrades the Linux kernel from 2.6.27 to 2.6.29.

New Framework APIs

For a detailed overview of new APIs, see the Version Notes. For a complete report of all API changes, see the API
Differences Report.

+ Go to top

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